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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                   CRIMINAL ACTION NO. 5:05-cr-00224-03

MICHAEL JANNEY,

                              Defendant.


       REVOCATION OF SUPERVISED RELEASE AND JUDGMENT ORDER

       On April 23, 2010, the Defendant, Michael Janney, appeared in person and by counsel, Lex

A. Coleman, Assistant Federal Public Defender for a hearing on the Petition for Warrant or

Summons for Offender Under Supervision and Second Amendment to Violation Petition submitted

by the Defendant’s supervising probation officer. The United States was represented at the hearing

by John L. File, Assistant United States Attorney. United States Probation Officer Amy Berry-

Richmond was also present at the hearing.

       On May 23, 2006, the Defendant was sentenced to a term of imprisonment of 32 months to

be followed by a 3 year term of supervised release. Defendant’s sentence subsequently was reduced

to 24 months pursuant to 18 U.S.C. § 3582(c)(2). On April 1, 2010 the Petition for Warrant or

Summons for Offender Under Supervision was filed charging the Defendant with violating certain

conditions of supervised release. On April 22, 2010, the Second Amendment to Violation Petition

was filed charging the Defendant with violating additional conditions of supervised release.

       At the hearing, the Court found that the Defendant had received written notice of the alleged

violations as contained in the Petition and Amendment, and that the evidence against the Defendant
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had been disclosed. The Court further found that the Defendant appeared, was given the opportunity

to present evidence, and was represented in the proceeding by counsel.

       The Court then found, by a preponderance of the evidence, that the Defendant violated

certain conditions of supervised release as contained in the Petition and Amendment, specifically:

       1)      Violation of Standard Condition: The defendant shall not commit another federal,
               state, or local crime.

               The offender was arrested on February 4, 2010, by members of the Kanawha County
               Sheriff’s Department and charged with violations of West Virginia State Code 17B-
               4-3b, driving revoked for DUI; and 17C-61a, failure to maintain control.

       2)      Violation of standard condition: The defendant shall not unlawfully possess a
               controlled substance. The defendant shall refrain from any unlawful use of a
               controlled substance.

               On March 17, 2010, the offender submitted a urine specimen which was positive for
               oxycodone. Mr. Janney did not have a valid prescription for oxycodone on that date.

       3)      Violation of standard condition number 7: The defendant shall refrain from excessive
               use of alcohol and shall not purchase, possess, use distribute, or administer any
               controlled substance or any paraphernalia related to any controlled substances,
               except as prescribed by a physician.

               [Probation Officer Berry-Richmond] re-alleges the conduct outlined in violation
               number two.

       4)      Violation of special condition of supervised release entered on May 1, 2009, that
               directed the offender to be placed in an in-patient drug treatment program as
               approved by the probation officer, and to comply with all rules and regulations of the
               treatment program.

               Michael Janney failed to complete the L.E.A.R.N. Program, at FMRS Mental Health
               Center, Beckley, West Virginia, as ordered by the Court due to testing positive for
               oxycodone on March 17, 2010. Mr. Janney did not have a valid prescription for
               oxycodone on that date; therefore, he was discharged unsuccessfully from the
               program on March 19, 2010.

       2&3     Amendment to Violation Number 2: The defendant shall not unlawfully possess a
               controlled substance. The defendant shall refrain from any unlawful use of a
               controlled substance.

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               Amendment to Violation Number 7: The defendant shall refrain from excessive use
               of alcohol and shall not purchase, possess, use, distribute, or administer any
               controlled substances or any paraphernalia related to such substances, except as
               prescribed by a physician.

               On April 6, 2010, Mr. Janey submitted a urine specimen that appeared to test positive
               for marijuana. When questioned, Mr. Janney verbally admitted to having smoked
               marijuana.

In making these findings, the Court relied upon the information contained in the Petition and

Amendment, and the Defendant’s statement that he does not dispute the violations contained in the

Petition and Amendment.

       Having found the Defendant to be in violation of the conditions of supervised release, the

Court REVOKED the Defendant’s supervised release and entered judgment as follows:

       It is the JUDGMENT of the Court that the Defendant be committed to the custody of the

Federal Bureau of Prisons for a term of 15 MONTHS. The Defendant shall be given credit for time

served as appropriately calculated by the Bureau of Prisons. The Court recommends to the Bureau

of Prisons that the Defendant be placed at FCI Beckley SCP. The Court further recommends that

the Defendant be evaluated for and placed in any and all appropriate substance and/or alcohol abuse

treatment programs which may be offered by the Bureau of Prisons.

       The Defendant was remanded to the custody of the United States Marshal.

       IT IS SO ORDERED.




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       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                            ENTER:         April 26, 2010




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